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              United States Court of Appeals
                           For the First Circuit

 No. 19-1130

               DANELL TOMASELLA, on behalf of herself and
                     all others similarly situated,
                          Plaintiff, Appellant,

                                       v.

                NESTLÉ USA, INC., a Delaware corporation,
                           Defendant, Appellee.
                           ____________________

 No. 19-1131

               DANELL TOMASELLA, on behalf of herself and
                     all others similarly situated,
                          Plaintiff, Appellant,

                                       v.

        MARS, INC., a Delaware corporation; and MARS CHOCOLATE
                NORTH AMERICA LLC, a Delaware company,
                        Defendants, Appellees.
                         ____________________

 No. 19-1132

               DANELL TOMASELLA, on behalf of herself and
                     all others similarly situated,
                          Plaintiff, Appellant,

                                       v.

              THE HERSHEY COMPANY, a Delaware corporation;
             HERSHEY CHOCOLATE & CONFECTIONERY CORPORATION,
                         a Delaware corporation,
                          Defendants, Appellees.
                           ____________________
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             APPEALS FROM THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

           [Hon. Allison D. Burroughs, U.S. District Judge]


                                     Before

                      Torruella, Lynch, and Kayatta,
                              Circuit Judges.


      Elaine T. Byszewski, with whom Steve W. Berman, and Hagens
 Berman Sobol Shapiro LLP were on brief, for appellant.
      Bryan A. Merryman, with whom Michael Kendall, Lauren M.
 Papenhausen, Karen Eisenstadt, and White & Case LLP were on brief,
 for appellee Nestlé USA, Inc.
      David M. Horniak, with whom Alison M. Newman, Stephen D.
 Raber, and Williams & Connolly LLP were on brief, for appellees
 Mars, Inc. and Mars Chocolate North America LLC.
      Jonah M. Knobler, with whom Steven A. Zalesin, and Patterson
 Belknap Webb & Tyler LLP were on brief, for appellees The Hershey
 Company and Hershey Chocolate & Confectionery Corporation.



                                 June 16, 2020




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             TORRUELLA, Circuit Judge. Danell Tomasella ("Tomasella")

 appeals the district court's dismissal of her claims in three

 putative     class    action      lawsuits     against     Nestlé        USA,   Inc.

 ("Nestlé"),     Mars,      Inc.   ("Mars"),     and     The   Hershey       Company

 ("Hershey") (collectively "Defendants").                Tomasella alleged that

 Defendants' failure to disclose on the packaging of their chocolate

 products that the worst forms of child labor exist in their cocoa

 supply chains violates the Massachusetts Consumer Protection Act,

 Mass. Gen. Laws ch. 93A ("Chapter 93A").                She also alleged that

 Defendants had been unjustly enriched by this packaging omission.

             The exploitation of children in the supply chain from

 which U.S. confectionary corporations continue to source the cocoa

 beans that they turn into chocolate is a humanitarian tragedy.

 This case thus serves as a haunting reminder that eradicating the

 evil of slavery in all its forms is a job far from finished.

 Before    us,   however,    is    the   very   narrow    question    of     whether

 Defendants' failure to include on the packing of their chocolate

 products information regarding upstream labor abuses in their

 cocoa    bean   supply   chains    constitutes     an    unfair     or    deceptive

 business practice within the meaning of Chapter 93A.                     Because we

 agree with the district court that Tomasella has not plausibly

 stated a claim for relief under Chapter 93A based on the alleged

 packaging omissions, and that Tomasella's unjust enrichment claim


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 is foreclosed by the availability of a remedy at law, we affirm

 the dismissal of her complaints against Defendants.

                                   I.    Background

 A.   Facts of the Case

              Because this is an appeal from the granting of a motion

 to   dismiss,    "we    rehearse       the    facts      as   they    appear   in   the

 plaintiff['s]      complaints       (including      documents        incorporated   by

 reference therein)."1         Hochendoner v. Genzyme Corp., 823 F.3d 724,

 728 (1st Cir. 2016).

              The West African nation of Côte d'Ivoire (Ivory Coast)

 is the world's largest producer of cocoa beans, the essential

 ingredient in chocolate.            The United States imports 47% of its

 supply of cocoa beans from Côte d'Ivoire.                     According to the U.S.

 Department    of   Labor's        ("DOL")     Bureau     of    International     Labor

 Affairs, the Ivorian cocoa industry "employ[s]" over 1.2 million

 child    laborers,     95%   of    whom      are   engaged     in    hazardous   cocoa

 production    work,    such    as      burning     and    clearing     fields,   using

 machetes and sharp tools, spraying pesticides, and carrying heavy

 loads.     As many as 4,000 of these children "are working under

 conditions of forced labor on Ivorian cocoa farms," having been



 1 We draw the factual background largely from the complaint against
 Nestlé -- a template for the nearly identical complaints that
 Tomasella filed against Mars and Hershey.


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 kidnapped or trafficked into debt bondage marked by harsh working

 conditions.     In addition, child laborers on cocoa farms are often

 forced to work long hours even when sick, denied food, and punished

 with physical abuse.        A DOL-funded 2015 report prepared by the

 Payson Center for International Development at Tulane University

 found that over half of child laborers on Ivorian cocoa farms have

 suffered work-related injuries.              These conditions, according to

 Tomasella, amount to "the Worst Forms of Child Labor" and are

 "prohibit[ed]" under international law.2

             Defendants are three of the largest and most profitable

 confectionary corporations in the United States.             Their chocolate

 products are made with cocoa beans and paste that they source

 (either directly or through intermediaries) predominantly from

 West   African    countries     such    as     Côte   d'Ivoire   and   Ghana.   3




 2 International Labor Organization ("ILO") Convention No. 182
 defines the "Worst Forms of Child Labor" to include slavery,
 trafficking of children, forced or compulsory labor, prostitution
 and pornography, drug trafficking, or work, which by its nature,
 is likely to harm children's health and safety. ILO: Convention
 Concerning the Prohibition and Immediate Elimination of the Worst
 Forms of Child Labor, 38 I.L.M. 1207, 1208 (1999).
 3 Tomasella specifically identifies the following assortment of
 each company's chocolate products in her complaints: (1) Nestlé
 Crunch, 100 Grand, Baby Ruth, Butterfinger, Nestlé Toll House,
 Nestlé Hot Cocoa Mix, Nestlé Milk Chocolate, and Nestlé seasonal
 confections; (2) M&M's, Mars Bars, Snickers, Twix, 3Musketeers,
 Galaxy, and Milky Way; (3) Hershey's Bars, Hershey's Kisses,
 Reese's, KitKat, Rolo, Heath, Skor, Special Dark, Krackel, Milk
 Duds, Whoppers, Mr. Goodbar, Almond Joy, Mounds, 5th Avenue,
 Symphony, Take5, Whatchamacallit, York Peppermint Patty, seasonal

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 Defendants' Corporate Business Principles and Supplier Codes of

 Conduct prohibit child and slave labor.            Additionally, they each

 have a stated policy that condemns the use of the worst forms of

 child labor.      At the same time, Defendants publicly acknowledge

 the existence of the worst forms of child labor in their West

 African cocoa supply chains.           For example, Nestlé acknowledges

 that children are engaged in hazardous work and forced labor on

 farms in Côte d'Ivoire in areas where the company sources cocoa.

 Mars recognizes that child labor and trafficking exist in cocoa

 bean supply chains originating in West Africa, and that it has

 advocated for the government of Côte d'Ivoire to address the

 problem.    Hershey concedes that there are potential labor rights

 abuses in its cocoa bean supply chain and expresses its commitment

 to ending forced labor.

             In   2001,   Defendants     (all   members   of   the   Chocolate

 Manufacturers Association) signed the Protocol for the Growing and

 Processing of Cocoa Beans and Their Derivative Products in a Manner

 that Complies with ILO Convention 182 Concerning the Prohibition

 and Immediate Action for the Elimination of the Worst Forms of

 Child Labor, Sept. 19, 2001 [hereinafter Harkin-Engel Protocol],4




 confections, and Hershey's baking bars, syrups, and spreads.
 4 The Harkin-Engel Protocol is named after U.S. Senator Tom Harkin
 and U.S. Representative Eliot Engel, the legislators who brokered

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 whereby they committed to being able to publicly certify by July

 2005 "that [their] cocoa beans and their derivative products have

 been grown and/or processed without any of the worst forms of child

 labor."      Since     2005,    Defendants        have     issued    several     joint

 statements affirming their commitment to eliminating forced child

 labor in the cocoa supply chain, although they have yet to fully

 implement the comprehensive cocoa certification process imagined

 by the Harkin–Engel Protocol.

             As part of their commitment, Defendants have launched

 corporate remedial initiatives.              Nestlé launched the Nestlé Cocoa

 Plan in 2009 to "eliminate the use of child labour" and "stamp out

 forced labour practices" in the Ivorian cocoa industry.                      Mars has

 the   Sustainable    Cocoa      Initiative,       which     aims    to    improve   the

 livelihoods of farmers.           Hershey designed the Shared Goodness

 approach, "to help guide [its] support of the United Nations

 Sustainable      Development     Goals"      towards       the    ultimate   goal   of

 creating     a   "Better       Life    and    a      Bright      Future    for   [its]

 stakeholders."        Tomasella       alleges     that      the    total   number    of

 children    involved    in     hazardous      work    in    cocoa    production     has

 nevertheless increased between 2008 and 2014.

             Defendants       contend    that      they     have    consistently     and




 the agreement.


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 publicly acknowledged the child labor problem in their cocoa supply

 chains, including on their websites, where they regularly report

 on their remedial efforts; however, they do not disclose the

 existence of "child and/or slave labor in the [cocoa] supply chain"

 on   the   packaging     of   the   chocolate     products     identified    in

 Tomasella's complaints at the point of sale.              Nestlé does label

 at least one of its chocolate products, Nestlé Crunch, with the

 Nestlé Cocoa Plan logo and a statement (with a website link) that

 reads, "[t]he Nestlé Cocoa Plan works with UTZ Certified to help

 improve the lives of cocoa farmers and the quality of their

 products." 5     Both Mars and Hershey label certain products as

 certified by the Rainforest Alliance (another certification that

 does not permit child labor), but Tomasella expressly exempts those

 products from challenge in her complaints.

 B.   Procedural History

             On   February     12,   2018,    Tomasella    (a    Massachusetts

 resident) filed a two-count class action lawsuit against Nestlé in

 federal court predicated on diversity jurisdiction.                  Then, on

 February 26, 2018, she filed identical class actions against Mars

 and Hershey.      The putative class in all three lawsuits included

 "[a]ll consumers who purchased [Defendants'] Chocolate Products in


 5 UTZ is a non-profit organization that operates a fair labor and
 sustainability certification system.


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 Massachusetts during the four years prior to the filing of the

 complaint[s]."

             First,    Tomasella      alleged   that   Defendants     violated

 Chapter 93A because their failure to disclose the prevalence of

 the worst forms of child labor in their cocoa supply chains on

 their     product    packaging    is    a    "material    omission[]"     that

 constitutes "an unfair or deceptive act[] or practice[] in the

 conduct of any trade or commerce" (Count One).              Mass. Gen. Laws

 ch. 93A, § 2(a).6       According to Tomasella, these omissions were

 deceptive because they "enticed reasonable consumers to purchase

 the Chocolate Products when they would not have had they known the

 truth."    Likewise, she alleged that the omissions were unfair to

 consumers who became "unwitting support[ers] of child and slave

 labor" through their purchases, and that Defendants' "undisclosed

 participation" in a cocoa supply chain plagued by the worst forms

 of child labor was "immoral, unethical, oppressive, unscrupulous,

 unconscionable,      and   offends     established    and    internationally

 recognized public policies against the use of child and slave

 labor," such as ILO Convention No. 182 and the United Nations'



 6 Chapter 93A creates a private right of action under which "[a]ny
 person . . . who has been injured . . . may bring an action
 . . . for damages and such equitable relief, including an
 injunction, as the court deems to be necessary and proper." Mass.
 Gen. Laws ch. 93A, § 9.


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  1948 Universal Declaration on Human Rights ("UDHR").               Tomasella

  also   alleged    that    Defendants'    packaging    omissions    "impair[]

  competition in the market for chocolate products, and prevent[]

  [her] and Class Members from making fully informed decisions about

  the kind of chocolate products to purchase and the price to pay

  for such products."

              In   the     way   of   injuries,    Tomasella    claimed     that

  Defendants' material omissions caused her and the putative class

  members to lose money "because they would not have purchased nor

  paid as much for Chocolate Products had they known the truth."

  Tomasella also alleged that "the unwitting support of child and

  slave labor causes substantial injury to consumers" -- presumably

  in a moral sense.        As for the requested relief, Tomasella sought

  an injunction ordering Defendants to discontinue their deceptive

  and unfair omissions (i.e., an injunction ordering them to make

  certain disclosures on their chocolate wrappers) and requesting

  treble damages, as well as attorneys' fees and costs.

              In the second cause of action, Tomasella alleged that

  Defendants had been "unjustly enriched" by "receiving payments for

  Chocolate Products that would not have been possible absent the

  wrongful conduct" (Count Two).              Accordingly, Tomasella sought

  "full restitution" of Defendants' "ill-gotten gains."




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              On   April      19,    2018,    Defendants      simultaneously          filed

  motions to dismiss Tomasella's complaints in their respective

  cases under Fed. R. Civ. P. 12(b)(6).                   They uniformly asserted

  that Tomasella failed to state a Chapter 93A claim because she did

  not     plausibly    plead        that    the     alleged   packaging         omissions

  constituted unfair or deceptive acts within the meaning of the

  statute, see Mass. Gen. Laws ch. 93A, § 2(a); that Tomasella had

  not alleged a cognizable injury per section 9 of Chapter 93A, see

  Mass. Gen. Laws ch. 93A, § 9; that the disclosure Tomasella sought

  would    violate     Defendants'         First    Amendment     rights;       and   that

  Tomasella    could    not    claim       unjust    enrichment    --    an     equitable

  remedy -- because Chapter 93A provided her and the putative class

  members an adequate remedy at law.

              On     January    30,        2019,    the   district      court    granted

  Defendants' motions to dismiss with prejudice.                     See Tomasella v.

  Nestlé USA, Inc., 364 F. Supp. 3d 26, 37 (D. Mass. 2019); Tomasella

  v. Mars, Inc., No. 18-cv-10359 (D. Mass. Jan. 30, 2019); Tomasella

  v. The Hershey Co., No. 18-cv-10360 (D. Mass. Jan. 30, 2019).

  C.    The District Court's Decision7

              The district court dismissed Tomasella's complaints in

  three strokes.       First, the court found that Tomasella "failed to



  7 To lay out the district court's holding and reasoning, we refer
  to the Nestlé decision, which is the only published decision of

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  state a deceptive claim under Chapter 93A because it is not

  plausible that [Defendants'] failure to disclose information about

  the labor practices in [their] supply chain[s] at the point of

  sale    could    have   the       'capacity   to   mislead     consumers,     acting

  reasonably under the circumstances, to act differently from the

  way they otherwise would have acted (i.e., to entice a reasonable

  consumer to purchase the product).'"               Id. at 35 (quoting Aspinall

  v. Philip Morris Cos., 813 N.E.2d 476, 488 (Mass. 2004)).                       The

  court noted that Tomasella's theory of liability was premised on

  factual          omissions          (as       opposed         to     "affirmative

  misrepresentation[s]" or "misleading half-truth[s]") that were

  tangential       to   the   "central      characteristics      of   the   chocolate

  products sold, such as their physical characteristics, price, or

  fitness for consumption."            Id. at 33.

               Heeding Chapter 93A's instruction that courts be "guided

  by the interpretations given by the Federal Trade Commission and

  the    Federal    Courts     to    section    5(a)(1)    of   the   Federal   Trade

  Commission Act (15 U.S.C. § 45(a)(1)),"                 Mass. Gen. Laws ch. 93A,

  § 2(b), the district court looked to the Federal Trade Commission's

  ("FTC") decision in In re International Harvester Co., 104 F.T.C.

  949, 1059 (1984) (hereinafter "International Harvester"), in the




  the three, and which mirrors the other two.


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  absence of any suggestion by the parties of Massachusetts case law

  addressing     the   type   of   omission         at     issue    in   this     case.

  In International     Harvester,     the     FTC    concluded       that     a   "pure

  omission," which it defined as "a subject upon which the seller

  has simply said nothing, in circumstances that do not give any

  particular meaning to his silence," did not create deception

  liability under the Federal Trade Commission Act ("FTC Act").

  Int'l Harvester, 104 F.T.C. at 1051–55.                Accordingly, the district

  court   construed     Defendants'     nondisclosure          on    their      product

  packaging of any information relating to child labor in their cocoa

  bean supply chains as a "pure omission" because "[Defendants'] act

  of offering chocolate for sale implies that the product is fit for

  human consumption . . . but does not on its own give rise to any

  misleading impression about how [Defendants] or [their] suppliers

  treat their workers."       Nestlé, 364 F. Supp. 3d at 35.                 Thus, the

  district court held that "it would not be objectively reasonable

  for a consumer to affirmatively form any preconception about the

  use of child or slave labor in [Defendants'] supply chain[s], let

  alone to make a purchase decision based on any such preconception"

  because of Defendants' silence about their labor practices on the

  packaging of their chocolate products.             Id.

               Second, the district court determined that Tomasella

  likewise "[did] not state a claim for unfair conduct upon which


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  relief could be granted under Chapter 93A" because she failed to

  allege   that    (1)   "[Defendants']       omissions   [were]    within   the

  penumbra of any common law, statutory or other established concept

  of unfairness"; (2) "the challenged omissions [were] immoral,

  unethical, oppressive or unscrupulous"; or that (3) "[Defendants]

  caused substantial injury to [their] customers."                 Id. at 35-36

  (citing President & Fellows of Harvard Coll. v. Certplex, Ltd.,

  No. 15-cv-11747, 2015 WL 10433612, at *2 (D. Mass. Nov. 25, 2015)).

              The district court rejected Tomasella's argument that

  Defendants' conduct fell within "well-established international

  concepts of unfairness."       Id. at 36.     To that end, the court noted

  that Tomasella was challenging the omission of information on

  Defendants' product packaging relating to the existence of child

  and slave labor in Defendants' cocoa supply chains not the use of

  those abhorrent labor practices themselves.             See id.     Moreover,

  the district court found that Tomasella had not "identified any

  common law or statutory authority requiring such disclosure[s]."

  Id. (citing Hodsdon v. Mars, Inc., 891 F.3d 857, 867 (9th Cir.

  2018)) (holding that the packaging of products is too far removed

  from the United Nations' and ILO's policies to serve as the basis

  for an unfairness claim under California's Unfair Competition

  Law).    Finally, the district court concluded that Tomasella's

  concession that Defendants had "repeatedly disclosed" in other


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  media the existence of child and slave labor in their cocoa supply

  chains neutralized her claim that she would not have purchased

  Defendants' chocolate products had she known the truth about their

  labor practices; moreover, where such information was "readily

  available to consumers on [Defendants'] websites," the district

  court held that omitting it from the packaging of chocolate

  products was not "immoral, unethical, oppressive, unscrupulous or

  substantially injurious to consumers."          Id.

              Having dismissed both Chapter 93A claims for failure to

  state a claim for unfair or deceptive conduct upon which relief

  could be granted, the district court declined to address whether

  Tomasella had alleged a cognizable injury per section 9 of Chapter

  93A or whether the First Amendment barred compelling the packaging

  disclosures she sought.       Id. at 36 n.7.

              Third, the district court dismissed Tomasella's unjust

  enrichment claim because, under Massachusetts law, plaintiffs with

  "an adequate remedy at law cannot maintain a parallel claim for

  unjust enrichment, even if that remedy is not viable."             Id. at 37

  (citing Shaulis v. Nordstrom, Inc., 865 F.3d 1, 16 (1st Cir. 2017))

  ("It is the availability of a remedy at law, not the viability of

  that remedy, that prohibits a claim for unjust enrichment.").               In

  any event, because Tomasella failed to allege wrongful conduct

  under Chapter 93A, the court noted that the allegation of unjust


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  enrichment was ultimately merely "conclusory."                Id. (internal

  quotation marks omitted).

              On January 31, 2019, Tomasella timely appealed all three

  dismissals.     Due to the symmetry in the complaints, the district

  court decisions, and the issues on appeal, our decision addresses

  the three appeals as one.

                                II.   Discussion8

              On appeal, Tomasella challenges the dismissal of her

  Chapter 93A and common law unjust enrichment claims.              Our review

  is de novo.    See Shaulis, 865 F.3d at 5-6 (citing Carter's of New

  Bedford, Inc. v. Nike, Inc., 790 F.3d 289, 291 (1st Cir. 2015)).

  "Setting aside any statements that are merely conclusory, we

  construe all factual allegations in the light most favorable to

  the non-moving party to determine if there exists a plausible claim

  upon which relief may be granted."            Woods v. Wells Fargo Bank,

  N.A., 733 F.3d 349, 353 (1st Cir. 2013) (citing Ocasio-Hernández

  v. Fortuño-Burset, 640 F.3d 1, 12 (1st Cir. 2011)).            "As a federal

  court sitting in diversity, we apply the substantive law of

  Massachusetts,     as   articulated     by   the   [Massachusetts     Supreme

  Judicial Court]."       Shaulis, 865 F.3d at 6 (citing Sanders v.

  Phoenix Ins. Co., 843 F.3d 37, 47 (1st Cir. 2016)).               "Where the


  8 Given the overlapping of issues and arguments, we refer to the
  briefs in the Nestlé appeal.


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  highest [state] court has not spoken directly on the question at

  issue, we must predict, as best we can, that court's likely

  answer."    Nolan v. CN8, 656 F.3d 71, 76 (1st Cir. 2011) (citing

  Barton v. Clancy, 632 F.3d 9, 17 (1st Cir. 2011)).            Moreover, "our

  obligation to make such an 'informed prophecy' is dampened by a

  concomitant duty to confine our forecast 'within the narrowest

  bounds sufficient to permit disposition of the actual case in

  controversy.'"     Id. (quoting Moores v. Greenberg, 834 F.2d 1105,

  1112 (1st Cir. 1987)).

  A.    Chapter 93A Claims

              "Chapter    93A   is   a   broad    . . .   consumer   protection

  statute," under which "[a] plaintiff seeking relief . . . must

  prove that the defendant engaged in 'unfair or deceptive acts or

  practices in the conduct of any trade or commerce.'"                Walsh v.

  TelTech Sys., Inc., 821 F.3d 155, 160 (1st Cir. 2016) (quoting

  Mass. Gen. Laws ch. 93A, § 2(a)).              The statute does not define

  "unfair or deceptive acts or practices" as used in section 2(a),

  but it provides that courts "will be guided" by the FTC's and

  federal courts' interpretations of the provisions of the FTC Act

  that also proscribe unfair or deceptive acts or practices.              Mass.

  Gen. Laws ch. 93A, § 2(b).9


  9   Section 2(b) reads:

           It is the intent of the legislature that in construing

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               Massachusetts         courts   also      "la[y]       out   . . .   helpful

  guideposts"     as    to     the     meaning     of    the     relevant      terms     in

  section 2(a).        Hanrahran v. Specialized Loan Servicing, LLC, 54

  F. Supp. 3d 149, 154 (D. Mass. 2014).                 "Under Chapter 93A, an act

  or practice is deceptive 'if it possesses a tendency to deceive'

  and 'if it could reasonably be found to have caused a person to

  act differently from the way he [or she] otherwise would have

  acted.'"    Walsh, 821 F.3d at 160 (alteration in original) (quoting

  Aspinall, 813 N.E.2d at 486-87).               "[A]n act or practice is unfair

  if it falls 'within at least the penumbra of some common-law,

  statutory,    or     other    established       concept       of    unfairness';     'is

  immoral,    unethical,       oppressive     or     unscrupulous';          and   'causes

  substantial     injury       to    consumers,'"        plus    the       "conduct    must

  generally be of an egregious, non-negligent nature."                       Id. (quoting

  PMP Assocs. v. Globe Newspaper Co., 321 N.E.2d 915, 917 (Mass.

  1975)).

               Of additional note, "Chapter 93A liability is decided

  case-by-case,        and     Massachusetts         courts      have        consistently



            paragraph (a) of this section in actions brought under
            sections four, nine[,] and eleven, the courts will be
            guided by the interpretations given by the Federal
            Trade Commission and the Federal Courts to section
            5(a)(1) of the Federal Trade Commission Act (15 U.S.C.
            45(a)(1)), as from time to time amended.

  Mass. Gen. Laws ch. 93A, § 2(b).


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  emphasized the 'fact-specific nature of the inquiry.'"                      Arthur D.

  Little, Inc. v. Dooyang Corp., 147 F.3d 47, 55 (1st Cir. 1998)

  (quoting Linkage Corp. v. Trustees of Bos. Univ., 679 N.E.2d 191,

  209 (Mass. 1997)).           "Although whether a particular set of acts,

  in their factual setting, is unfair or deceptive is a question of

  fact, the boundaries of what may qualify for consideration as a

  [Chapter]     93A   violation     is    a   question      of   law."    Id.     at    54

  (alteration in original) (quoting Ahern v. Scholz, 85 F.3d 774,

  797 (1st Cir. 1996)).

                Section   2(c)     of     Chapter    93A     also     authorizes       the

  Massachusetts Attorney General to issue rules and regulations

  interpreting        section     2(a)'s      provisions,        so    long     as     the

  interpretations stay within the bounds set by the FTC's and federal

  courts' interpretations per section 2(b).10                    See Mass. Gen. Laws

  ch. 93A, § 2(c).        One such regulation, which is featured in this

  case,    is   940    Mass.    Code     Regs.    3.16(2)    ("Section        3.16(2)").


  10   Section 2(c) reads:

            The attorney general may make rules and regulations
            interpreting the provisions of subsection 2(a) of this
            chapter.   Such rules and regulations shall not be
            inconsistent with the rules, regulations[,] and
            decisions of the Federal Trade Commission and the
            Federal Courts interpreting the provisions of
            15 U.S.C. 45(a)(1) (The Federal Trade Commission
            Act), as from time to time amended.

   Mass. Gen. Laws ch. 93A, § 2(c).


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  Section 3.16(2) explains that Chapter 93A covers a business's

  "fail[ure] to disclose to a buyer or prospective buyer any fact,

  the   disclosure     of   which   may   have   influenced       the   buyer     or

  prospective buyer not to enter into the transaction."                 940 Mass.

  Code Regs. 3.16(2).        The regulation does not address how such

  disclosures need be made.

              After careful review, we agree with the district court

  that Tomasella has failed to plausibly state Chapter 93A claims

  against Defendants under either a deceptive or unfair acts theory.

  We address each theory in turn.

              1.     Deceptive Acts

              To plausibly state a Chapter 93A claim premised on a

  deceptive act, the plaintiff must allege "(1) a deceptive act or

  practice on the part of the seller; (2) an injury or loss suffered

  by the consumer; and (3) a causal connection between the seller's

  deceptive act or practice and the consumer's injury."                  Casavant

  v. Norwegian Cruise Line, Ltd., 919 N.E.2d 165, 168-69 (Mass. App.

  Ct. 2009) (citing Mass. Gen. Laws ch. 93A, § 9).                      An act or

  practice is deceptive if it "has the capacity to mislead consumers,

  acting reasonably under the circumstances, to act differently from

  the   way   they    otherwise   would   have   acted   (i.e.,    to    entice   a

  reasonable consumer to purchase the product)."                  Aspinall, 813

  N.E.2d at 488.


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               The    spectrum    of   liability           for    deceptive      acts   or

  practices spans from affirmative misrepresentations, see Carlson,

  2015 WL 6453147, at *4, to certain kinds of nondisclosures, such

  as "advertising [that] may consist of a half truth, or even may be

  true   as    a   literal   matter,    but        still    create[s]       an   over–all

  misleading       impression     through     failure        to    disclose      material

  information," Aspinall, 813 N.E.2d at 487.                      A nondisclosure, or

  an omission, "is the failure to 'disclose to another a fact that

  [one] knows may justifiably induce the other to act or refrain

  from acting in a business transaction . . . [if one] is under a

  duty to the other to exercise reasonable care to disclose the

  matter in question."           Underwood v. Risman, 605 N.E.2d 832, 836

  (Mass.      1993)   (alteration      in     original)          (quoting   Restatement

  (Second) of Torts § 551 (1977)).

               Beyond its recognition in Aspinall of two specific kinds

  of deceptive omissions and its occasional echoing of Section

  3.16(2)'s broad disclosure language (which, as we will explain, is

  less expansive than meets the eye), the Supreme Judicial Court of

  Massachusetts ("SJC") has not squarely addressed whether a seller

  commits a deceptive act when omitting information at the point of

  sale concerning a product that is tangential to its fitness for

  use.     Thus, pursuant to Chapter 93A's directive, we look to the

  FTC's interpretation of the FTC Act for guidance.


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              The FTC has addressed in detail whether and to what

  extent    omissions   constitute     deceptive    acts.      Under   the   FTC

  framework, with which Massachusetts law substantially comports,

  see Aspinall, 813 N.E.2d at 488, deceptive acts consist of three

  elements:    "(1)   there   must   be   a   representation,    practice,    or

  omission likely to mislead consumers; (2) the consumers must be

  interpreting the message reasonably under the circumstances; and

  (3) the misleading effects must be 'material,' that is likely to

  affect consumers' conduct or decision with regard to a product,"

  Int'l Harvester, 104 F.T.C. at 1056.

              According to the FTC, omissions give rise to liability

  based on deception in two limited circumstances: (1) "to tell only

  half the truth, and to omit the rest" (e.g., "where a seller fails

  to disclose qualifying information necessary to prevent one of his

  affirmative statements from creating a misleading impression");

  and (2) "to simply remain silent, if [the seller] does so under

  circumstances that constitute an implied but false representation"

  (e.g., where a misleading impression "arise[s] from the physical

  appearance of the product, or from the circumstances of a specific

  transaction, or . . . based on ordinary consumer expectations as

  to the irreducible minimum performance standards of a particular

  class of good").11     Id. at 1057-58.      An example of telling a half-


  11   We note the FTC's explanation that this second category of

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  truth and omitting the rest would be advertising a product that

  allegedly      cures    baldness     but    "failing   to    disclose      that    most

  baldness results from male heredity and cannot be treated."                        Id.

  at 1058 (citing Ward Labs. v. FTC, 276 F.2d 952 (2nd Cir. 1960);

  Keele Hair & Scalp Specialists, 55 F.T.C. 1840 (1959), aff'd, 275

  F.2d 18 (5th Cir. 1960)).             An example of creating a misleading

  impression through an omission would be presenting a product as

  new, even though it is actually used, without correcting the

  misimpression created, see id. (citing Olson Radio Corp., 60 F.T.C.

  1758 (1962)), or omitting "that a simulated-wood product was

  actually made of paper," id. (citing Haskelite Mfg. Corp., 33

  F.T.C. 1212, 1216 (1941), aff'd, 127 F.2d 765 (7th Cir. 1942)).

  Chapter   93A    also     requires    that    we    look    at   federal    case    law

  interpreting the FTC Act.          In 2018 the Ninth Circuit described the

  limits of the omission theory, holding that SeaWorld's failure to

  disclose facts about the poor treatment of its orca whales was not

  an unfair or deceptive act because such treatment "[did] not

  concern    a    central    feature     of     the   entertainment       experience"

  inherent to the purchase of SeaWorld tickets.                    Hall v. SeaWorld

  Entm't, Inc., 747 F. App'x 449, 453 (9th Cir. 2018); see also


  omissions is deceptive because it interferes with "[t]he concept
  of reasonable fitness," which is the notion that "offering a
  product for sale creates an implied representation that it is fit
  for the purposes for which it is sold."     Int'l Harvester, 104
  F.T.C. at 1058 & n.35.

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  F.T.C. v. Simeon Mgmt. Corp., 532 F.2d 708, 716 (9th Cir. 1976)

  ("[N]o single advertisement could possibly include every fact

  relevant to the purchasing decision; nor is such comprehensiveness

  required . . . .").

                Although the SJC did not cite directly to International

  Harvester in the Aspinall decision, its statement in that case

  regarding nondisclosures in advertising that are "half truth[s]"

  or that "create an over-all misleading impression" closely tracks

  the FTC's dual classification scheme.                   Aspinall, 813 N.E.2d at

  487.    In International Harvester, the FTC considered whether a

  farming      equipment    manufacturer      committed       a    deceptive    act   by

  marketing a gasoline-powered tractor without a warning about a

  potentially      dangerous       product     feature      that     resulted    in    a

  phenomenon     called    "fuel     geysering"      in    which    hot   gasoline    is

  forcibly ejected through a cap on the tractor's gas tank.                     See 104

  F.T.C. at 1051-55.         The FTC classified this nondisclosure as a

  "pure omission," which it defined as merely staying silent about

  a subject "in circumstances that do not give any particular meaning

  to   [the]    silence."      Id.    at     1059.        Because   the   statistical

  probability of fuel geysering was very low, the FTC determined

  that the risk of hazard did not render the tractor "unfit for

  normal use," and thus the act of offering the tractor for sale

  while staying silent about the risk of fuel geysering did not


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  constitute a deceptive act.         Id. at 1063.       Thus, although pure

  omissions "may lead to erroneous consumer beliefs if [the] consumer

  had a false, pre-existing conception which the seller failed to

  correct," the FTC held that such omissions, by and large, "are not

  appropriately     characterized     as   deceptive    or   reached    through

  deception analysis."       Id. at 1059-60.       The reasoning underlying

  the FTC's treatment of pure omissions is encapsulated in the

  following policy considerations:

           First, we could not declare pure omissions to be
           deceptive without expanding that concept virtually
           beyond limits.      Individual consumers may have
           erroneous preconceptions about issues as diverse as
           the entire range of human error, and it would be both
           impractical and very costly to require corrective
           information on all such points.         Second, pure
           omissions do not presumptively or generally reflect a
           deliberate act on the part of the seller, and so we
           have no basis for concluding, without further
           analysis,   that   an  order   requiring   corrective
           disclosure would necessarily engender positive net
           benefits for consumers or be in the public interest.

           If we were to ignore this last consideration, and
           were to proceed under a deception theory without a
           cost-benefit analysis, it would surely lead to
           perverse outcomes. The number of facts that may be
           material to consumers -- and on which they may have
           prior misconceptions -- is literally infinite.
           Consumers may wish to know about the life expectancy
           of clothes, or . . . [a] canner's policy on trade
           with Chile. Since the seller will have no way of
           knowing in advance which disclosure is important to
           any particular consumer, he will have to make
           complete disclosures to all. A television ad would
           be completely buried under such disclaimers, and even
           a full-page newspaper ad would hardly be sufficient
           for the purpose. For example, there are literally
           dozens of ways in which one can be injured while

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           riding a tractor, not all of them obvious before the
           fact, and under a simple deception analysis these
           would presumably all require affirmative disclosure.
           The resulting costs and burden on advertising
           communication would very possibly represent a net
           harm for consumers.

  Id.    at 1059-60 (footnotes omitted).

                 On this law, we see no reason to depart from the district

  court's determination that Tomasella failed to state a deceptive

  acts claim against Defendants based on their packaging omissions.

  As Tomasella does not pursue a theory premised on affirmative

  misrepresentations,       12    the   decisive       issue    is   thus    whether

  Defendants' packaging omissions are deceptive acts in the sense

  that    they    "ha[ve]   the    capacity     to    mislead   consumers,   acting

  reasonably under the circumstances, to act differently from the

  way they otherwise would have acted (i.e., to entice a reasonable

  consumer to purchase the product)."                Aspinall, 813 N.E.2d at 488.

                 By our lights, Defendants' packaging omissions lack the

  requisite capacity to mislead. The district court's classification


  12Tomasella did allege in the Nestlé complaint that the company's
  failure to disclose abusive labor practices was especially
  egregious for Nestlé Crunch because the product includes a Nestlé
  Cocoa Plan label accompanied by the following statement: "The
  Nestlé Cocoa Plan works with UTZ Certified to help improve the
  lives of cocoa farmers and the quality of their products." The
  district court rejected the argument that this label constituted
  an affirmative misrepresentation, and because Tomasella does not
  challenge this ruling on appeal, she has therefore waived any
  argument to that effect. See Pignons S.A. de Mecanique v. Polaroid
  Corp., 701 F.2d 1, 3 (1st Cir. 1983).


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  of Defendants' packaging omissions as pure omissions makes good

  sense.     The challenged conduct does not clearly fall into either

  of   the   nondisclosure      categories    that   the    SJC    and   FTC    have

  specifically recognized as being deceptive.              By not disclosing on

  the packaging of their chocolate products that there are known

  labor abuses in their cocoa supply chains, Defendants stay silent

  on the subject in a way that does not constitute a half-truth or

  create     any   misleading    impressions    about      the    upstream     labor

  conditions in the cocoa supply chain.         13


               Following International Harvester's framework, then, the

  risk of hazard -- here, that the worst forms of child labor may

  have been used in producing the cocoa beans used to make the

  chocolate products being offered for sale -- does not render the


  13 On appeal, Tomasella attempts to cobble together a misleading
  impression theory by contending that Defendants' "omission[s]
  relate[] to the central pleasure-providing characteristic of the
  product, which is undermined by undisclosed child and slave labor,"
  and that Defendants "create[] an implied but false impression in
  the mind of a reasonable consumer" that their for-sale chocolate
  products are in the country legally even though importing the cocoa
  beans used to make those products violates the Tariff Act, 19
  U.S.C. § 1307. However, because Tomasella failed to raise these
  arguments below, we decline to address them for the first time on
  appeal. See Goodwin v. C.N.J., Inc., 436 F.3d 44, 51 (1st Cir.
  2006) ("Under the familiar raise-or-waive rule, legal theories not
  asserted in the lower court cannot be broached for the first time
  on appeal.").     For the first time on appeal, Tomasella also
  contends that International Harvester supports her position
  because, there, the FTC "did not dismiss the 'pure omission' in
  that case outright, but found a violation under the FTC unfairness
  test, as exists here." But this last-minute argument is waived
  too. See id.

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  products "unfit for normal use," and thus the act of offering the

  chocolate for sale without mention of these labor practices is not

  a deceptive act.          104 F.T.C. at 1063.         Moreover, the allegation

  that Defendants did not correct at the point of sale Tomasella's

  "false, pre-existing conception" that their chocolate products

  were completely free of the worst forms of child labor does not

  translate into deception liability.               Id. at 1059.    Without citing

  any precedent, Tomasella argues that because the worst forms of

  child labor are universally condemned, consumers acting reasonably

  under the circumstances would never expect a product to implicate

  such abhorrent labor practices.             We need look no further than the

  FTC's stated policy rationales to explain the shortcomings of this

  argument.       Declaring      Defendants'        packaging    omissions    to    be

  deceptive would inevitably "expand[] that concept virtually beyond

  limits,"      considering         the      vast     universe     of    "erroneous

  preconceptions" that individual consumers may have about any given

  product as well as "[t]he number of facts that may be material to

  [them]."      Id. at 1059; cf. Animal Legal Defense Fund Bost., Inc.

  v. Provimi Veal Corp., 626 F. Supp. 278, 279-81 (D. Mass. 1986)

  (dismissing     claim      that   veal     producer    acted     deceptively      and

  unfairly by not telling consumers about the upstream mistreatment

  of   calves    in   its    supply       chain    because   Chapter    93A   was    an

  "inappropriate remedy" for consumers to enforce Massachusetts'


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  animal cruelty laws), aff'd, 802 F.2d 440 (1st Cir. 1986).14

              On appeal, however, Tomasella disputes the district

  court's   decision    to   rely   on   FTC    guidance   in   general   and   on

  International Harvester in particular.             For support, Tomasella

  points to the SJC's recognition that "[a] duty exists under



  14  The dispute before us comes on the heels of several cases out
  of the Ninth Circuit rejecting variants of Tomasella's claims under
  California's consumer protection laws on similar grounds.       See
  McCoy v. Nestlé USA, Inc., 173 F. Supp. 3d 954 (N.D. Cal. 2016)
  (dismissing claims that Nestlé violated California consumer
  protection laws by omitting information about labor abuses in its
  supply chain on the packaging of its chocolate products because
  this omission was not contrary to any representations made by the
  defendant or a fact that the defendant had a duty to disclose),
  aff'd, 730 F. App'x 462 (9th Cir. 2018); Dana v. The Hershey Co.,
  180 F. Supp. 3d 652 (N.D. Cal. 2016) (dismissing claims that
  Hershey violated California consumer protection laws by omitting
  any disclosure of labor abuses in its supply chain on the packaging
  of its chocolate products as this omission was not unlawful,
  unfair, deceptive, or fraudulent), aff'd, 730 F. App'x 460 (9th
  Cir. 2018); Hodsdon v. Mars, Inc., 891 F.3d 857 (9th Cir. 2018)
  (affirming dismissal of claims against Mars for violating
  California consumer protection laws by omitting any disclosure of
  labor abuses in its supply chain on the packaging of its chocolate
  products because Mars had no duty to disclose this information and
  the omission itself was not unethical or misleading); see also
  Wirth v. Mars, Inc., 2016 U.S. Dist. LEXIS 14552 (C.D. Cal. Feb. 5,
  2016) (holding Mars did not violate California consumer protection
  laws by omitting any disclosure of labor abuses in its supply chain
  on the packaging of its cat food products because Mars had no duty
  to disclose this information and the safe harbor doctrine
  forecloses this claim through the California Transparency in
  Supply Chain Act of 2010), aff'd, 730 F. App. 468 (9th Cir. 2018);
  Barber v. Nestlé USA, Inc., 154 F. Supp. 3d 954 (C.D. Cal. 2015),
  aff'd, 730 F. App'x 464 (9th Cir. 2018); Hughes v. Big Heart Pet
  Brands, 2016 U.S. Dist. LEXIS 5508 (C.D. Cal. Jan. 15, 2016),
  aff'd, 740 F. App. 876 (9th Cir. 2018); De Rosa v. Tri-Union
  Seafoods, LLC, 2016 U.S. Dist. LEXIS 5497 (C.D. Cal. Jan. 15,
  2016), aff'd, 730 F. App'x 466 (9th Cir. 2018).

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  [Chapter] 93A to disclose material facts known to a party at the

  time of a transaction," Exxon Mobil Corp. v. Att'y Gen., 94 N.E.3d

  786, 797 (Mass. 2018) (quoting Underwood, 605 N.E.2d at 835), cert

  denied sub nom. Exxon Mobil Corp. v. Healey, 139 S. Ct. 794 (2019),

  in tandem with Section 3.16(2)'s broad disclosure language.             Based

  on this duty to disclose material facts, Tomasella argues that she

  "need only allege a knowing omission of material information likely

  to mislead consumers" in order to plausibly state a deception claim

  based   on   Defendants'    omissions. 15    In   other   words,   Tomasella

  contends that "requiring disclosure in the absence of any [common

  law] duty to do so . . . is the equivalent of saying pure omissions

  are actionable" under Chapter 93A.           Tomasella also submits that

  we have already recognized that her allegations are sufficient to

  state a Chapter 93A claim in V.S.H. Realty v. Texaco, Inc., 757

  F.2d 411, 417 (1st Cir. 1985), where we noted that "[we] [were]

  not convinced . . . that [the plaintiff in that case] need[ed] to

  allege more than a failure to disclose a material fact to state a

  cause of action under Chapter 93A."               Because of these "clear

  statements of law" regarding Chapter 93A's "inherent" disclosure


  15By Tomasella's account, she has pleaded enough under the proposed
  approach to survive the motion to dismiss based on the allegations
  that chocolate consumers "were generally unaware of [the labor
  abuses] and reasonably assume otherwise," that "studies . . .
  indicate that abusive labor practices are material to consumers,"
  and that she "would not have purchased the chocolate products had
  she known the truth" about their origins.

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  obligations, Tomasella submits that the district court need not

  have   consulted    FTC   caselaw    at   all,   let   alone    International

  Harvester.    For the following reasons, we disagree.

               First and foremost, the statutory directive in Chapter

  93A to consult FTC and federal court interpretations of relevant

  terms and standards is clear.        See Mass. Gen. Laws ch. 93A, § 2(b);

  see also Aspinall, 813 N.E.2d at 487-88.

               Additionally,     the    supposed     clear       statements   of

  Massachusetts law to which Tomasella cites do not, in our view,

  lend support to her position.        We begin with Exxon, which addressed

  the very different issue of the scope of the Massachusetts Attorney

  General's investigative power under Chapter 93A.                See Exxon, 94

  N.E.3d at 791 ("[T]he Attorney General is statutorily authorized

  to investigate whatever conduct she believes may constitute a

  violation of [Chapter 93A]." (citing Mass. Gen. Laws ch. 93A,

  § 6(1))).    To lay out the facts, the Attorney General had launched

  an investigation into Exxon for a potential Chapter 93A deceptive

  acts violation when internal company documents surfaced showing

  that Exxon knew about the climate risks associated with its product

  (fossil fuels), failed to disclose that information to the public,

  and "instead sought to undermine the evidence of climate change

  altogether, in order to preserve its value as a company."              Id. at

  790.    Specifically, the Attorney General posited the following


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  failure-to-disclose        theory:       despite        Exxon's       "sophisticated

  internal knowledge" about the climate risks associated with the

  use of its fossil fuel products, the company "failed to disclose

  what it knew to . . . consumers," id. at 792, and thus, its

  incomplete     marketing     and    advertising         of    those       products    to

  Massachusetts      consumers       potentially         "created       a     misleading

  impression," id. at 795 (quoting Aspinall, 813 N.E.2d at 395).

  When, pursuant to its authority, the Attorney General issued a

  civil investigatory demand ("CID") to Exxon for "documents and

  information     relating     to    [the      company's]        knowledge      of     and

  activities related to climate change," Exxon filed suit in state

  court to set aside the CID.          Id. at 790.

              Before the SJC, Exxon argued that, as a nonresident

  corporation,    it   was    not    subject      to    personal      jurisdiction      in

  Massachusetts, and that to the extent that the Attorney General's

  investigation     (and     thus    the    CID)       arose   from     the    company's

  advertising    and   marketing      activities         in    Massachusetts,        those

  activities were conducted by Exxon's franchisees (branded gas

  stations) whose communications could not be attributed to Exxon.

  Id. at 794.    After agreeing with the lower courts' determinations

  that this argument belied the language of Exxon's brand franchise

  agreements, see id. at 794-95, the SJC concluded that the CID's

  request for information relating to Exxon's knowledge about the


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  climate risks of its products fell squarely within the Attorney

  General's statutory authority to investigate whether Exxon had

  indeed "engaged in deceptive advertising . . . by either giving a

  misleading impression or failing to disclose material information

  about climate change."          Id. at 795.

                While we understand the attraction of drawing a parallel

  to Exxon, there are no grounds for reading the case as establishing

  the    liberal   pleading   standard    for     which   Tomasella   advocates.

  Rather, what the case confirms is that Chapter 93A authorizes the

  Massachusetts Attorney General to investigate conduct that she

  believes might amount to a Chapter 93A violation, see Mass. Gen.

  Laws    ch.   93A,   §   6(1)    (authorizing    the    Attorney    General   in

  furtherance of her investigatory powers to "examine . . . any

  documentary material of whatever nature relevant to such alleged

  unlawful method, act or practice" and take testimony under oath),

  and reinforces the jurisdictional norms to which the investigation

  (including any CID issued in relation thereto) must adhere.                   As

  the legal issues pertained to the Attorney General's powers during

  the preliminary stages of a Chapter 93A investigation, the SJC did

  not take (and indeed could not have taken) a position in Exxon as

  to whether Exxon's nondisclosure constituted a deceptive act.

  Therefore, we cannot extrapolate a rule from that narrow decision

  that consumers (whose private right of action derives from a


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  different section of the statute, see Mass. Gen. Laws ch. 93A,

  § 9) plausibly state a deceptive acts claim simply by pleading

  that   a    company       had     knowledge      of    any   potentially     material

  information regarding one of its products but failed to disclose

  it.

              Likewise, in our view, Underwood falls short of the broad

  applicability that Tomasella ascribes to it.                        There, the SJC

  considered whether an owner-broker was guilty of a deceptive act

  by failing to disclose "the possibility of lead-based paint in a

  residential    dwelling         to   childless        prospective   tenants."        605

  N.E.2d at 834.      The SJC held that the owner-broker's nondisclosure

  did not violate Chapter 93A because the theory of his liability

  was premised on "a suspicion or a likelihood" that the house

  contained lead paint "rather than actual knowledge."                     Id. at 835.

  From this, Tomasella draws the conclusion that Chapter 93A's

  disclosure obligations extend to all nondisclosures of all known

  (as opposed to suspected) material facts.                    But we find no basis

  for such a broad deduction in the language of the decision.

              Next,     as    the      district    court    rightly   noted,    Section

  3.16(2) cannot be fairly read as a carte blanche for Chapter 93A

  liability either.           By its terms, the regulation provides for

  liability    when     a    seller      "fails    to     disclose    to   a   buyer    or

  prospective buyer any fact, the disclosure of which may have


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  influenced the buyer or prospective buyer not to enter into the

  transaction."      940 Mass. Code Regs. 3.16(2).                 Read literally,

  Section 3.16(2) would give rise to a nearly boundless disclosure

  obligation that exceeds even the breadth of Chapter 93A itself.

  Thus, the SJC has stated that despite the regulation's patently

  latitudinous    language,    it    "adds    little,    if   anything,     to   the

  provisions of [Chapter 93A] itself,"             Underwood, 605 N.E.2d at

  836, which as we know, proscribes material, knowing, and willful

  nondisclosures     that   are     "likely   to   mislead     consumers    acting

  reasonably under the circumstances," Mayer v. Cohen-Miles Ins.

  Agency, Inc., 722 N.E.2d 27, 33 (Mass. 2000).                     Furthermore, a

  pragmatic reading of the regulation is consistent with the SJC's

  recognition     that   "[t]he     only     limitations      on    [the   Attorney

  General's] interpretive power are that his definitions [of unfair

  and deceptive] not be inconsistent with FTC and Federal court

  decisions . . . and the usual limitations that his regulations be

  neither arbitrary nor capricious."           Purity Supreme, Inc. v. Att'y

  General, 407 N.E.2d 297, 304 (Mass. 1980).                   Additionally, it

  tracks the original intent behind drafting Chapter 93A with open-

  ended language, which was "to allow for the regulation of future,

  as-yet-undevised, business practices."                Id. at 303-04 (citing

  Commonwealth v. DeCotis, 316 N.E.2d 748, 754 (Mass. 1974)).                Thus,

  we are hard-pressed to interpret Section 3.16(2) as mandating the


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  disclosure that Tomasella seeks, even in the context of the

  Massachusetts case law that she cites.

              Lastly, Tomasella's reliance on an isolated statement

  from our decision in V.S.H. Realty goes nowhere.                    That case

  implicated the "as is" purchase of "a used bulk storage petroleum

  facility," for which the seller (Texaco) represented that it had

  not   received   any    notice    from   government      entities   "regarding

  modifications or improvements to the facility or any part thereof"

  and only disclosed an oil seepage in the garage building.              V.S.H.

  Realty, 757 F.2d at 413.         After discovering a second oil seepage,

  which the U.S. Coast Guard had previously sought to investigate,

  the buyer (V.S.H.) filed suit against Texaco alleging, inter alia,

  that the company violated Chapter 93A by failing to disclose the

  second oil leak.        See id.     On the narrow issue of disclosure

  obligations created by Chapter 93A, including Section 3.16(2), we

  reversed the district court's decision, which found that the

  nondisclosure     of   the   property    defect    was    lawful    absent   an

  independent duty to speak, even if that information would have

  influenced the buyer's decision to enter the purchase agreement.

  See id. at 416.        Tomasella hangs her hat on a component of our

  reasoning in that case, in which we stated that "[we] [were] not

  convinced . . . that V.S.H. need[ed] to allege more than a failure

  to disclose a material fact to state a cause of action under


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  Chapter 93A" in light of the SJC's emphasis on the difference

  between statutory and common law causes of action for fraud and

  deceit, the latter of which requires a duty to disclose.               Id. at

  417 (citing Slaney v. Westwood Auto, Inc., 322 N.E.2d 768 (Mass.

  1975)).    However, our reasoning was two-pronged, and the cited

  statement was preceded by our observation that, even accepting the

  pleading requirement of a disclosure duty, "V.S.H. ha[d] met its

  burden of establishing a duty by alleging that Texaco made partial

  or incomplete statements regarding the oil leaks on the property."

  Id. (citing Restatement (Second) of Torts §§ 521, 529).              In other

  words, our holding in V.S.H. Realty was inextricably linked to the

  facts of the case, which involved misleading half-truths relating

  to the reasonable fitness of the property, and thus are plainly

  distinguishable from those of Tomasella's case.

              Next, maintaining that it was error to consult FTC

  caselaw at all, Tomasella also contends the district court was

  doubly misguided in consulting International Harvester because the

  SJC had previously looked to another FTC case, In re Cliffdale

  Assoc., Inc., 103 F.T.C. 110 (1984) (hereafter "Cliffdale"), for

  guidance on deception liability analysis.            We find this argument

  unavailing as well.

              Tomasella notes specifically that in Aspinall, the SJC

  looked to Cliffdale, from which it imported the FTC standard for


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  gauging deceptive acts: "if, first, there is a representation,

  omission, or practice that, second, is likely to mislead consumers

  acting    reasonably     under    the     circumstances,   and    third,    the

  representation, omission, or practice is material."              Aspinall, 813

  N.E.2d at 487 (quoting Cliffdale, 103 F.T.C. at 165).               She fails

  to recognize, however, that International Harvester recounts the

  exact same standard, both FTC cases deriving it from the same 1983

  FTC policy statement.       See Int'l Harvester, 103 F.T.C. at 1056 &

  n.18.    In any event, in Cliffdale, the FTC held that marketers of

  a car engine had engaged in unlawful deceptive acts by placing

  advertisements and distributing sales materials that made false

  and misleading claims about the value and performance of the

  engine.    Id. at 161-62.        Given the context, it makes sense that

  the SJC would cite the mention of the deception standard in

  Cliffdale (as opposed to International Harvester) in the Aspinall

  decision, where the plaintiffs alleged that a cigarette company

  violated Chapter 93A by "marketing . . . Marlboro Lights as 'light'

  cigarettes that deliver 'lowered tar and nicotine'" despite having

  intentionally designed "light" cigarettes to deliver as much, if

  not more, tar and nicotine than regular cigarettes.                813 N.E.2d

  at 479.    By contrast, Tomasella does not allege that Defendants

  intentionally     made   false    and    misleading   statements     in    their

  advertisements or marketing materials for the chocolate products.


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  Instead, as in International Harvester, the heart of the dispute

  at hand centers around whether Defendants' staying silent on the

  packaging of the chocolate products at the point of sale about

  upstream labor practices in their cocoa supply chains constitutes

  a deceptive act.

                 To    be     sure,    Cliffdale        did   implicate      a    deceptive

  nondisclosure,            which     arose      from     the     marketers'           use    of

  advertisements            with    consumer     testimonials       that     created         the

  impression that the endorsements were made by actual users of the

  car engine and were thus "unrestrained and unbiased."                          103 F.T.C.

  at 171.        As it turned out, "a good number" of the individuals

  whose testimonials were featured in the marketing materials were

  actually    "business            associates"     of   the     marketers,       not    actual

  product users.            Id. at 172.    The FTC concluded that the marketers

  were "guilty of making a deceptive claim" because failing to

  disclose the relationship between the endorser and the seller had

  created    a    false       and     misleading      impression     in    the    minds       of

  consumers,          who    were     particularly       gullible     because          of    the

  difficulty that average consumers have in assessing a product like

  a car engine themselves.                Id.      The SJC echoed this ruling in

  Aspinall, where it stated that advertising may be deceptive when

  it "create[s] an over-all misleading impression through failure to

  disclose material information."                  813 N.E.2d at 487.             This does


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  not, however, speak to the deceptive character of omissions like

  the ones at issue here, which is precisely why International

  Harvester provides a useful reference point.

                 Therefore, we hold that Tomasella has not plausibly

  stated a Chapter 93A deception claim.                  We now turn to her second

  theory.

                 2.    Unfair Acts

                 Tomasella        also    challenges     the     dismissal      of     her

  Chapter 93A unfairness claim.                "An act or practice may be 'unfair'

  within    the       statutory    meaning      [of   Chapter   93A]   without       being

  deceptive or fraudulent."              Mass. Farm Bureau Fed'n, Inc. v. Blue

  Cross     of    Mass.,     Inc.,       532    N.E.2d   660,   664    (Mass.    1989).

  "[A] practice or act will be unfair under [Chapter 93A], if it is

  (1) within the penumbra of a common law, statutory, or other

  established         concept     of     unfairness;     (2)    immoral,    unethical,

  oppressive, or unscrupulous; or (3) causes substantial injury to

  [consumers,] competitors or other business people."                      Heller Fin.

  v. Ins. Co. of N. Am., 573 N.E.2d 8, 12-13 (Mass. 1991).                           Under

  this rubric, the legality of the challenged act or practice is not

  dispositive of its unfairness.                See Mechs. Nat'l Bank of Worcester

  v. Killeen, 384 N.E.2d 1231, 1237 (Mass. 1979).                  In Massachusetts,

  the finder of fact determines "what constitutes an unfair trade

  practice," but its determination is nevertheless "subject to [a


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  reviewing] court's . . . legal gate-keeping function."             Mass. Eye

  & Ear Infirmary v. QLT Phototherapeutics, Inc., 552 F.3d 47, 69

  (1st Cir. 2009).

              Tomasella disputes the district court's determination

  that she failed to plausibly plead any of the three prongs.               With

  respect    to    established     concepts      of   unfairness,    Tomasella

  challenges the district court's "unduly narrow reading of [her]

  claims" as resting only on Defendants' omission of information on

  their product packaging about the use of cocoa supply chains with

  known child and slave labor and not also the actual "utilization

  of the abusive supply chain[s]."            By Tomasella's assessment, her

  unfair act claims necessarily encompass both practices, which in

  her view, "go hand in hand."        Tomasella further contends, relying

  on our decision in Cooper v. Charter Commc'ns Entm'ts I, LLC, 760

  F.3d 103, 111 (1st Cir. 2014), that "to fall within the penumbra

  of a statute's concept of unfairness, [the challenged practice]

  need not actually violate the statute." Accordingly, she clarifies

  that it is her position that Defendants' "utiliz[ation] of supply

  chains with known child and slave labor" together with their

  continued failure to implement the cocoa certification standards

  set forth in the Harkin-Engel Protocol puts their practice of

  nondisclosure squarely within the penumbra of the "international

  intolerance of slavery and child labor abuses," as expressed by


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  the UDHR and ILO Convention No. 182.           Even if a statutory violation

  were required to plausibly state a Chapter 93A unfairness claim,

  Tomasella submits that the Tariff Act, 19 U.S.C. § 1307, which

  prohibits the importation of goods from supply chains that rely on

  forced labor,16 provides the necessary hook when taken together

  with her allegations that Defendants import cocoa beans and paste

  from West Africa.

                The challenged conduct does not fall within the penumbra

  of any recognized concept of unfairness.             The Chapter 93A claims

  at issue are not based on Defendants' conduct of sourcing cocoa

  beans from a supply chain rife with child labor abuses.                 While

  Tomasella      undoubtedly     pleads    numerous   facts   relating   to   the

  abhorrence and prevalence of the worst forms of child labor in

  West African cocoa supply chains, as well as Defendants' knowledge

  of    and   profiting   from    that    practice,   functionally,   Tomasella


  16   In relevant part, the Tariff Act provides:

              All goods, wares, articles, and merchandise mined,
              produced, or manufactured wholly or in part in any
              foreign country by convict labor or/and forced or/and
              indentured labor under penal sanctions shall not be
              entitled to entry at any of the ports of the United
              States, and the importation thereof is hereby
              prohibited, and the Secretary of the Treasury is
              authorized and directed to prescribe such regulations
              as may be necessary for the enforcement of this
              provision.

  19 U.S.C. § 1307.


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  relies    on    these   facts   only   as     predicates   for   her   consumer

  protection argument.17        Those allegations do not bring the omission

  within the penumbra of common-law unjust enrichment, as described

  in greater detail below.          And, at any rate, the SJC has never

  upheld a Chapter 93A claim because its allegations made out a claim

  for unjust enrichment, much less because its allegations were in

  the penumbra of unjust enrichment.

                 Next, we have reason to doubt that Massachusetts state

  law would look to broad notions of international law, much less to

  concepts of unfairness.          Tomasella's arguments in this regard,

  even if countenanced, would nevertheless fail on their merits

  because   she     has   not   provided   sufficient    information      in   her

  pleadings to establish that such packaging disclosures fall within

  the penumbra of the UDHR or ILO Convention No. 182.18


  17 By way of comparison, plaintiffs in another forum have
  challenged at least one of the Defendants' complicity in the
  underlying labor abuses directly. See Doe v. Nestlé, S.A., 929
  F.3d 623, 637, 642 (9th Cir. 2018) (holding that defendants'
  perpetuation of overseas slave labor from their U.S. headquarters
  provided a sufficient domestic nexus for former child slaves
  trafficked into Côte d'Ivoire to proceed on their claims against
  defendants under the Alien Tort Statute, 28 U.S.C. § 1350, for
  aiding and abetting slave labor), petition for cert. filed, No.
  19-416 (Sept. 27, 2019).

  18Not even the United Nations' Guiding Principles on Business and
  Human Rights -- a set of guidelines delineating the corporate
  responsibility to respect human rights that references the UDHR
  and ILO Convention No. 182 -- extend to point-of-sale disclosures
  on products that implicate human rights violations. See Office
  of the U.N. High Commissioner on Human Rights, U.N. Guiding

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              As to statutory concepts of unfairness, Tomasella's

  argument that the challenged packaging omissions fall within the

  penumbra of the Tariff Act fare no better, even assuming arguendo

  that a violation of a federal statute could be a source of

  unfairness within the meaning of Chapter 93A.               By its terms, the

  Tariff Act only regulates the importation of goods, and thus

  plainly does not extend to point-of-sale packaging disclosures --

  not to mention that its enforcement is committed to the discretion

  of   the   Secretary   of   the    Treasury. 19    See    19   U.S.C.     §    1307.

  Defendants' packaging omissions do not fall within the penumbra of

  any established concepts of unfairness.

              Regarding the remaining unfairness prongs, Tomasella

  maintains    on   appeal    that    Defendants'        nondisclosure    is     both

  "immoral    and   substantially     injurious     to    consumers   who       suffer



  Principles on Business and Human Rights: Implementing the United
  Nations "Protect, Respect and Remedy" Framework, 13-26, U.N. Doc.
  HR/PUB/11/04 (2011).   Rather, the Guiding Principles encourage
  businesses to make "publicly available" a policy statement
  "express[ing] their commitment to meet this responsibility," id.
  at 16-17, and when their "operations . . . pose risks of severe
  human rights impacts" to "communicate this externally" by
  "report[ing] formally on how they address [the impacts]," id. at
  23-24.
  19Even the one-of-its-kind California Transparency in Supply Chain
  Act, Cal. Civ. Code § 1714.43(a)(1), does not provide a statutory
  hook because it only goes so far as to require website disclosures
  about companies' "efforts to eradicate slavery and human
  trafficking from [their] direct supply chain for tangible goods
  offered for sale."


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  economic loss" and are made to "unwittingly support abusive labor

  practices" by buying chocolate products.              Because Massachusetts

  law requires sellers to disclose material information absent an

  independent duty, and because "reasonable Massachusetts consumers

  assume     that     major    American    companies      do      not    tolerate

  internationally condemned labor abuses in their supply chains,"

  Tomasella argues that it is therefore "unethical to take advantage

  of [those] . . . assumptions and thereby trick consumers into

  becoming unwitting participants in the proliferation of child and

  slave labor."

              Along    those   lines,   Tomasella      disputes    the   district

  court's finding that it was neither immoral or substantially

  injurious to consumers for Defendants to omit information about

  their supply chain abuses "on [their] actual product packaging"

  when they "had made such information readily available to consumers

  on [their] websites."        Tomasella submits that consumers "cannot

  be expected to conduct internet research on every item they

  purchase -- particularly inexpensive goods at the market," and

  therefore, absent a showing that she, or the putative class

  members,    have     actually    seen    any    of     Defendants'      website

  disclosures, the onus should be on the seller to "readily ensure

  exposure with a label disclosure."

              On balance, Tomasella has not persuaded us that the


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  nondisclosure of upstream labor conditions on product packaging at

  the point of sale is unscrupulous or substantially injurious to

  consumers within the meaning of Chapter 93A.                         Again, we must

  separate   the    undisputed       immorality       of    the   alleged    underlying

  conduct,    which     we    do   not    take     lightly,    from    the   challenged

  nondisclosures.       Cf. Hodsdon, 891 F.3d at 867 (holding that while

  child   labor    is    "clearly        immoral,"    the     notion    that   omitting

  descriptions of those labor practices at the point of sale is

  immoral    within     the   California      consumer      protection       context   is

  "doubtful").      The pleadings do not provide any basis on which to

  conclude that Defendants have tricked consumers or taken advantage

  of their assumptions for capital gain.                      And as to substantial

  injury, the hard truth with which society must reckon is that

  consumers actually benefit from the prevalence of forced child

  labor in cocoa bean supply chains because it makes chocolate

  cheaper. This is precisely why, as Tomasella herself acknowledges,

  consumers are willing to pay premiums for products that are

  certified with fair-trade labels.                Indeed, the very existence of

  fair-trade labels, and their absence from Defendants' chocolate

  products, may well convey to consumes who care greatly about such

  matters that these products are not the result of fair-trade

  practices.      Finally, the fact that Defendants have repeatedly made

  information about the prevalence of the worst forms of child labor


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  in their supply chains publicly available through their websites

  and other media mitigates the concern raised that their omission

  at the point of sale is unethical per Chapter 93A regardless of

  whether Tomasella or the putative class members were (or should

  have   been)      cognizant    of   Defendants'       website     disclosures.

  Otherwise the list of information that sellers would have to

  disclose on their product packaging would be lengthy indeed.               See

  Int'l Harvester, 104 F.T.C. at 1059-60.

              Therefore, we hold that Tomasella has not plausibly

  stated a Chapter 93A unfairness claim.          Accordingly, we affirm the

  dismissal of her Chapter 93A claims for failure to state a claim

  upon which relief can be granted.20

  B.   Unjust Enrichment

              We    now   turn   to   the     second   count   of    Tomasella's

  complaints.      "Unjust enrichment is defined as 'retention of money

  or property of another against the fundamental principles of

  justice or equity and good conscience.'"             Santagate v. Tower, 833

  N.E.2d 171, 176 (Mass. App. Ct. 2005).          To plausibly state a claim

  for unjust enrichment, the plaintiff must allege: "(1) a benefit



  20Having affirmed the dismissal of the Chapter 93A claims for
  Tomasella's failure to plausibly state a claim for relief, we need
  not address at this juncture whether she has pleaded a cognizable
  injury per section 9 of Chapter 93A or whether the disclosures she
  seeks would violate Defendants' First Amendment rights.


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  conferred upon the defendant by the plaintiff; (2) an appreciation

  or knowledge by the defendant of the benefit; and (3) acceptance

  or   retention    by    the   defendant     of    the     benefit    under     the

  circumstances would be inequitable without payment for its value."

  Mass. Eye & Ear Infirmary, 552 F.3d at 57 (citation omitted).

  Unjust enrichment is an equitable remedy, which "exist[s] to

  supplement those available at law and not to contradict the

  judgments embodied in the statutes and the common law."                   Stevens

  v. Thacker, 550 F. Supp. 2d 161, 165-66 (D. Mass. 2008).                     Thus,

  "a party with an adequate remedy at law cannot claim unjust

  enrichment."     Shaulis, 865 F.3d at 16 (citing ARE-Tech Square, LLC

  v.   Galenea   Corp.,    79   N.E.3d    1111     (Mass.    App.     Ct.   2017)).

  Specifically, "[i]t is the availability of a remedy at law, not

  the viability of that remedy, that prohibits a claim for unjust

  enrichment."     Id. at 16.

              Tomasella argues that the district court erroneously

  relied on the availability versus viability language in Shaulis to

  dismiss her unjust enrichment claim.               She contends that our

  decision in Lass v. Bank of America, N.A., 695 F.3d 129, 140 (1st

  Cir. 2012) (holding that a plaintiff may "plead alternative and

  even inconsistent legal theories, such as breach of contract and

  unjust enrichment, even if Plaintiffs only can recover under one

  of these theories"), which we reiterated in Cooper, 760 F.3d 103,


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  is controlling under the law of the circuit doctrine because it

  predates Shaulis.      We disagree.

              Under the "law of the circuit" rule, "newly constituted

  panels in a multi-panel circuit court are bound by prior panel

  decisions that are closely on point."          San Juan Cable LLC v. P.R.

  Tel. Co., 612 F.3d 25, 33 (1st Cir. 2010) (citation omitted).              But

  Tomasella misapprehends the doctrine.           She contends that because

  both Lass and Shaulis reached opposite conclusions regarding a

  plaintiff's ability to proceed on an unjust enrichment claim while

  citing the same precedent in support of their reasoning, see

  Platten v. HG Berm. Exempted Ltd., 437 F.3d 118, 130 (1st Cir.

  2006) ("Massachusetts law does not allow litigants to override an

  express contract by arguing unjust enrichment."), Lass must take

  precedence as the earlier decision.         Not so.

              First, we are bound by Shaulis because it is a prior

  panel decision that is closely on point.           To illustrate Shaulis's

  applicability, we lay out its facts.         The case involved a putative

  class action lawsuit stemming from Nordstrom's practice of listing

  a "Compare At" price alongside the sale price on price tags for

  items at its department store, Nordstrom Rack.              See 865 F.3d at

  5.   In that case, the named plaintiff (Shaulis) sued Nordstrom

  after purchasing one of its sweaters with a price tag listing the

  purchase price as $49.97 and the "Compare At" price as $218,


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  indicating "77% worth of savings," when in actuality, the goods

  available for purchase at Nordstrom Rack were "manufactured by

  designers for exclusive sale" at Nordstrom's department stores,

  meaning that they were never sold at the advertised "Compare At"

  prices.      Id. (internal quotation marks omitted).                On behalf of a

  putative class including all consumers who purchased items from

  Nordstrom Rack, Shaulis alleged that the "Compare At" pricing

  scheme constituted an unfair or deceptive act under Chapter 93A by

  "induc[ing] [her] to make a purchase she would not have made, but

  for the false sense of value [it] created."                Id. at 10.        She also

  alleged      claims   for   fraud,       breach    of    contract,     and     unjust

  enrichment.       See id. at 5.

               We    ultimately     affirmed      the     dismissal    of    Shaulis's

  Chapter 93A claims for failure to adequately allege a legally

  cognizable injury under the state statute, see id. at 15, as well

  as the dismissal of her fraudulent misrepresentation and breach of

  contract claims, see id. at 15-16.                As to her unjust enrichment

  claim, we held that it must also be dismissed because, even though

  she    did     not    succeed      on     her     Chapter      93A,       fraudulent

  misrepresentation,      and     breach    of    contract    claims    (i.e.,    even

  though they were not viable), they provided her with "an adequate

  remedy at law" (i.e., they were available to her), and that alone

  "prohibits a claim for unjust enrichment."                Id. at 16 (citing Reed


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  v. Zipcar, Inc., 883 F. Supp. 2d 329, 334 (D. Mass. 2012), aff'd,

  527 F. App'x 20 (1st Cir. 2013); Fernándes v. Havkin, 731 F. Supp.

  2d 103, 114 (D. Mass. 2010) (holding plaintiff's unjust enrichment

  claim was precluded by co-existent Chapter 93A claim, which was

  dismissed for failure to state an unfair or deceptive act)).               The

  same is true here.     The viability of Tomasella's Chapter 93A claims

  is "beside the point."      Reed, 883 F. Supp 3d. at 334.          Tomasella's

  unjust enrichment claims must be dismissed because an adequate

  remedy at law was undoubtedly available to her through Chapter 93A.

              Next, we do not read Lass and Shaulis as creating an

  untenable conflict of law.         Lass involved a dispute over whether

  a bank that acquired the plaintiff's mortgage wrongfully increased

  flood insurance payments beyond what was originally required by

  the mortgage agreement.        695 F.3d at 131-134.        The plaintiff in

  that case brought a breach of contract and unjust enrichment claim

  (among others) against the bank, which the district court dismissed

  for failure to state a claim.          Resolving the breach of contract

  issue on appeal turned on the interplay between the relevant

  provision of the mortgage agreement and a separate document called

  the   "Flood    Insurance    Notification"      regarding    the    authority

  provided to the lender to demand increased flood coverage on the

  plaintiff's property.        Id.    Because we concluded that the two

  documents, when taken together, created an ambiguity regarding the


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  bank's authority to demand increased flood coverage, we reinstated

  the plaintiff's breach of contract claim.                        Id. at 137.        As

  Tomasella    notes,        we    also      reinstated    the    plaintiff's      unjust

  enrichment        claim    on    the      grounds     that,    despite   the     mutual

  exclusivity       of      damages    for     breach     of    contract   and     unjust

  enrichment, "it is accepted practice to pursue both theories at

  the pleading stage."            Id. at 140 (citing Vieira v. First Am. Title

  Ins. Co., 668 F. Supp. 2d 282, 294-295 (D. Mass. 2009)).                       However,

  what Tomasella misses is that the ambiguity in the mortgage

  contract casts doubt on whether a breach of contract claim was

  indeed available as a legal remedy for the plaintiff in that case.

  Thus, we reinstated the unjust enrichment claim, so that the

  district court could determine anew whether the claim "should

  survive" once it had the chance to develop the factual record more

  fully.   Id. at 141.

               By    contrast,        in    Shaulis,    because   no   such   ambiguity

  existed, we were able to determine that "[b]y charging the agreed

  price in exchange for ownership of the sweater, Nordstrom fulfilled

  its contractual obligations," which in turn, blocked the plaintiff

  from asserting an unjust enrichment claim on top of a breach of

  contract claim.           865 F.3d at 16.          There is no such ambiguity in

  Tomasella's case either.                 Thus, absent any showing that Chapter

  93A provides an insufficient remedy at law, Tomasella's Chapter


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  93A and unjust enrichment claims are mutually exclusive.21

              Accordingly, we affirm the district court's dismissal of

  Tomasella's unjust enrichment claims.

                               III.    Conclusion

              For the foregoing reasons, we affirm the dismissal of

  Tomasella's complaints against Nestlé, Mars, and Hershey.

              Affirmed.




  21Even if   Tomasella could pursue her unjust enrichment claims, we
  doubt she   would succeed, for as we have already determined, the
  allegedly   unjust conduct upon which her theory rests is neither
  deceptive   nor unfair.


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